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                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAI`I

  UNITED STATES OF AMERICA,    )              CR NO. 06-00080-04 SOM
                               )
                 Plaintiff,    )              ACCEPTANCE OF PLEA OF GUILTY,
       vs.                     )              ADJUDICATION OF GUILT AND NOTICE
                               )              OF SENTENCING
  SIAOSI ALAPATI (06),         )
                               )
                 Defendant.    )
  ____________________________ )


                            ACCEPTANCE OF PLEA OF GUILTY,
                              ADJUDICATION OF GUILT AND
                                 NOTICE OF SENTENCING

                 Pursuant to the Report and Recommendation of the United

  States       Magistrate    Judge,   to    which   there   has   been   no   timely

  objection, the plea of guilty to Count 2 of the First Superseding

  Indictment is now Accepted and the Defendant is Adjudged Guilty of

  such offense.        All parties shall appear before this Court for

  sentencing as directed.

                 IT IS SO ORDERED.

                 DATED: Honolulu, Hawai`i, May 17, 2006.



                                           _____________________________
                                           Susan Oki Mollway
                                           United States District Judge




  GUILTY.ACP
